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UNITED STATES DISTRICT COURT
Southern District of Florida

Case Number:

BURGER KING CORPORATION,

 

Plaintiff,
Vv.

MKMB RESTAURANT PARTNERS LLC,
MARTIN L. KING, and MARC B. BROOKS,

Defendants.

SUMMONS IN A CIVIL CASE

TO: (Name and address of defendant)

MARTIN L. KING
9351S. Hoyne Avenue
Chicago, Hlinois 60643

YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S ATTORNEY (name and address)

MICHAEL D. JOBLOVE, Esq.
NINA GREENE, Esq.

Genovese Joblove & Battista, P.A.
Miami Center

44th Floor

100 S.E. Second Street

Miami, Florida 33131

an answer to the complaint which is herewith served upon you, within 21 days after service of

this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against
you for the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a
reasonable period of time after service.

Steven M. Larimore

 

 

CLERK OF COURT DATE

 

(BY) DEPUTY CLERK

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